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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA


                                ) Case No.: 3:20-cv-00560-SDD-SDJ
IVORY MITCHELL, individually, and on
                                )
behalf of all other similarly situated
consumers,                      )
                                )
         Plaintiff,             ) NOTICE OF VOLUNTARY DISMISSAL
     v.                         )
                                )
ENHANCED RECOVERY COMPANY d/b/a )
ERC,                            )
                                )
         Defendant.             )


                                   ORDER OF DISMISSAL


       It is ordered, adjudged and decreed that all Plaintiff’s claims are hereby dismissed in this

matter without prejudice as to Defendant Enhanced Recovery Company d/b/a as ERC. All costs

and attorney’s fees shall be paid by the party incurring them.

      Signed in Baton Rouge, Louisiana the 13th day of April, 2021.




                                        S
                                       CHIEF JUDGE SHELLY D. DICK
                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA
